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Galaxy Nexus — The new Android #RARS rom

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GALAXY MexUs

Tech Specs

Tech Specs

Hardware

Screen
= 4.65" HD(1280 x 720) Super AMOLED

« Contour Display (curved glass)

Size (mm)
= 67.94 X 135.5 X 9.47 (LTE)

Weight
« 145.5 g (5.1 OZ)

Memory
« Storage: 32GB

« Memory: 1GB RAM

Camera

« SMP continuous auto focus
« 1.3MP Front

» LED Flash

» Zero shutter lag

» Video recording in 1080p

http://www.google.com/nexus/#/tech-specs[2/6/2012 9:52:18 PM]

Main Features

HD Contour display
Super AMOLED 720p screen

Software keys

Volume controls

Power button

3.5mm audio jack

Video out with Micro-USB

1.3MP front camera
5MP low-light optimized rear camera
Camera flash

Front speaker
Rear speaker

Textured back cover

Features

« BATTERY: 1850mAh

« OS: Ice Cream Sandwich (Android 4.0)
« CPU: 1.2 GHZ dual core processor

« NOTIFICATION: 3 color LED

« MICS: 2 Mics

» BUTTONLESS

» NFC

» ACCELEROMETER

« GYRO
Galaxy News ~The new Andros PRONE froin RéodeY - O0O30-LHK Document 17-4 Filed 02/Q8/12 Page 3 of 3

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: LTE/CDMA Network » PROXIMITY/LIGHT
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USB
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